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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MICHAEL MOSES,
                                 Plaintiff,
                                                          22 Civ. 08912 (JHR)
                          -v.-
                                                          NOTICE OF REASSIGNMENT
 NATIONAL SECURITIES CORPORATION,
                                 Defendant.


JENNIFER H. REARDEN, District Judge:

       This case has been reassigned to this Court. All counsel must familiarize themselves

with the Court’s Individual Rules and Practices, which are available at

https://nysd.uscourts.gov/hon-jennifer-h-rearden. Unless and until the Court orders otherwise,

all prior orders, dates, and deadlines shall remain in effect notwithstanding the reassignment.

Any conference or oral argument before or directed by the Magistrate Judge will proceed as

ordered. However, all previously scheduled appearances or conferences before the District

Judge are hereby adjourned pending further notice from the Court.

       Within two weeks of the filing of this Order, the parties are hereby ORDERED to file on

ECF a joint letter updating the Court on the status of the case. The joint letter shall not exceed

five (5) double-spaced pages, and shall provide the following information, to the extent relevant,

in separate paragraphs:

       1.      The names of counsel and current contact information;

       2.      A brief statement of the nature of the claims and the principal defenses;

       3.      A brief explanation of why jurisdiction and venue lie in this Court. In any action

               in which subject matter jurisdiction is founded on diversity of citizenship

               pursuant to 28 U.S.C. § 1332, the letter must explain the basis for the parties’
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        belief that diversity of citizenship exists. Where any party is a corporation, the

        letter shall state both the place of incorporation and the principal place of

        business. In cases where any party is a partnership, limited partnership, limited

        liability company, or trust, the letter shall state the citizenship of each entity’s

        members, shareholders, partners, and/or trustees;

4.      A statement of all existing deadlines, due dates, and/or cut-off dates;

5.      A statement of any previously scheduled conferences or arguments with the

        Court that have not yet occurred, and the matters that were to be addressed;

6.      A brief description of any outstanding motions, including the date such motions

        were filed and the nature of the relief sought;

7.      A statement and description of any pending appeals;

8.      A detailed statement of all discovery to date, including the number of depositions

        taken by each party and any remaining discovery that is essential in order for the

        parties to engage in meaningful settlement negotiations;

9.      A brief description of the status of prior settlement discussions, without

        disclosing exact offers and demands;

10.     A statement of whether the parties have discussed employing alternative dispute

        resolution mechanisms and whether the parties believe that (a) a settlement

        conference before a Magistrate Judge; (b) participation in the District’s

        Mediation Program; and/or (c) the retention of a private mediator would be

        productive and, if so, when (e.g., within the next 60 days, after the deposition of

        the plaintiff is completed, at the close of fact discovery, etc.);

11.     An estimate of the length of trial; and




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       12.     Any other information that the parties believe may assist the Court in advancing

               the case, including, but not limited to, a description of any dispositive or novel

               issue raised by the case.

       If this case has been settled or otherwise terminated, counsel need not submit the joint

letter or appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

appropriate proof of termination is filed on the docket prior to the joint letter submission

deadline, using the proper ECF Filing Event. See S.D.N.Y. Electronic Case Filing Rules &

Instructions §§ 13.17-13.18, 13.20. Requests for extensions or adjournment of dates not affected

by this Order may be made only in accordance with the Court’s Individual Rules and Practices,

which are available at https://nysd.uscourts.gov/hon-jennifer-h-rearden.

       SO ORDERED.

Dated: April 3, 2023
       New York, New York


                                                                 JENNIFER H. REARDEN
                                                                 United States District Judge




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